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         IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                     NORTHERN DIVISION


    XAT.COM LIMITED,                                      MEMORANDUM DECISION
                                                              AND ORDER
                  Plaintiff,

    v.
                                                           Case No. 1:16-cv-00092-PMW
    HOSTING SERVICES, INC. aka
    100TB.COM,

                  Defendant.                         Chief Magistrate Judge Paul M. Warner


          All parties in this case have consented to Chief Magistrate Judge Paul M. Warner

conducting all proceedings, including entry of final judgment, with appeal to the United States

Court of Appeals for the Tenth Circuit. 1 See 28 U.S.C. § 636(c); Fed. R. Civ. P. 73. Before the

court is Plaintiff Xat.com Limited’s (“Xat”) motion for determination of subject-matter

jurisdiction. 2 The court has carefully reviewed the written memoranda submitted by the parties.

Pursuant to Civil Rule 7-1(f) of the Rules of Practice for the United States District Court for the

District of Utah, the court has concluded that oral argument is not necessary and will decide the

motion on the basis of the written memoranda. See DUCivR 7-1(f).




1
    See docket no. 11.
2
    See docket no. 89.
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                                   RELEVANT BACKGROUND

          In its motion, Xat requests that the court determine whether it has subject-matter

jurisdiction over this matter. Xat asserts that when the complaint was filed, it was incorporated

and had its principal place of business in the United Kingdom. Xat also argues that while, at the

time the complaint was filed, Defendant Hosting Services, Inc. aka 100TB.com (“100TB”) was

incorporated in Delaware, its principal place of business was in the United Kingdom. In support

of that argument, Xat points to evidence that, according to Xat, shows that when the complaint

was filed, 100TB’s president, John Morris (“Morris”), and vice president and treasurer, Adam

Kilgour (“Kilgour”), were overseeing 100TB’s operations from the United Kingdom. 3 Based

upon that evidence, Xat contends that 100TB’s principal place of business was in the United

Kingdom when the complaint was filed. Consequently, Xat maintains, both it and 100TB are

foreign parties for purposes of subject-matter jurisdiction and, therefore, the court lacks subject-

matter jurisdiction.

          100TB opposes Xat’s motion. To rebut the evidence that Xat relies upon, 100TB relies

upon the declaration of its vice president, Chris Matue (“Matue”), who resides in Utah and works

in 100TB’s Utah office. In that declaration, Matue asserts that he is “responsible for overseeing,

directing and managing 100TB’s business activities from 100TB’s headquarters and principal

office” in Utah and that “100TB’s day-to-day operations and business activities were managed

and directed by [him] and other senior 100TB employees in Utah.” 4 Matue admits that Morris



3
    See docket no. 89 at 4-5; docket no. 101 at 10-12.
4
    Docket no. 96-2 at ¶¶ 1, 6.

                                                   2
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and Kilgour reside in the United Kingdom, but asserts that, as of the date the complaint was

filed, “neither of them was involved in overseeing 100TB’s daily operations.” 5 Matue asserts

that the roles of Morris and Kilgour primarily involved “providing input on long-term planning

and strategic guidance for 100TB.” 6 Matue further asserts that Morris and Kilgour “fulfilled

their roles from various locations, including 100TB’s headquarters” in Utah; “Morris and

Kilgour frequently travelled to Utah, typically on a quarterly basis,” to participate in certain

meetings; and Morris and Kilgour “regularly communicated with [Matue] and other 100TB

personnel in Utah via phone, email, and Skype, sometimes from the United Kingdom and

sometimes from other locations throughout the globe.” 7 Based upon Matue’s declaration, 100TB

contends that its principal place of business is located in Utah and, consequently, that this court

has subject-matter jurisdiction.

                                        LEGAL STANDARDS

           “Subject-matter jurisdiction involves a court’s authority to hear a given type of case and

may not be waived.” Radil v. Sanborn W. Camps, Inc., 384 F.3d 1220, 1224 (10th Cir. 2004)

(citations omitted). Subject-matter jurisdiction is to be determined based on the facts that existed

at the time the complaint was filed. See Grupo Dataflux v. Atlas Global Grp., L.P., 541 U.S. 567,

570-71 (2004); Grynberg v. Kinder Morgan Energy Partners, L.P., 805 F.3d 901, 905 (10th Cir.

2015). “[B]ecause parties cannot waive subject-matter jurisdiction, they can challenge it ‘at any




5
    Id. at ¶ 6.
6
    Id.
7
    Id.

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time prior to final judgment.’” City of Albuquerque v. Soto Enters., Inc., 864 F.3d 1089, 1093

(10th Cir. 2017) (quoting Grupo Dataflux, 541 U.S. at 571), cert. denied sub nom. Soto Enters.,

Inc. v. City of Albuquerque, N.M., 138 S. Ct. 983 (2018). “Where a party attacks the factual basis

for subject[-]matter jurisdiction, the court does not presume the truthfulness of factual allegations

in the complaint, but may consider evidence to resolve disputed jurisdictional facts.” Radil, 384

F.3d at 1224. “If the court determines at any time that it lacks subject-matter jurisdiction, the

court must dismiss the action.” Fed. R. Civ. P. 12(h)(3).

        “To establish subject[-]matter jurisdiction under 28 U.S.C. § 1332, a party must show that

complete diversity of citizenship exists between the parties and that the amount in controversy

exceeds $75,000.” Radil, 384 F.3d at 1225. Federal courts

                have diversity jurisdiction over cases between citizens of the
                United States and citizens of foreign states, but . . . do not have
                diversity jurisdiction over cases between aliens. More specifically,
                diversity is lacking . . . where the only parties are foreign entities,
                or where on one side there are citizens and aliens and on the
                opposite side there are only aliens.

Bayerische Landesbank, N.Y. Branch v. Aladdin Capital Mgmt. LLC, 692 F.3d 42, 49 (2d Cir.

2012) (quotations and citation omitted) (second alteration in original); see also Nike, Inc. v.

Comercial Iberica de Exclusivas Deportivas, S.A., 20 F.3d 987, 991 (9th Cir. 1994) (“Although

the federal courts have jurisdiction over an action between ‘citizens of a State and citizens or

subjects of a foreign state,’ 28 U.S.C. § 1332(a)(2), diversity jurisdiction does not encompass a

foreign plaintiff suing foreign defendants . . . .”).

        For purposes of subject-matter jurisdiction, a corporation is a citizen of the place where it

is incorporated and has its principal place of business. See 28 U.S.C. § 1332(c)(1). The United

States Supreme Court has held

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                 that “principal place of business” is best read as referring to the
                 place where a corporation’s officers direct, control, and coordinate
                 the corporation’s activities. It is the place that Courts of Appeals
                 have called the corporation’s “nerve center.” And in practice it
                 should normally be the place where the corporation maintains its
                 headquarters—provided that the headquarters is the actual center
                 of direction, control, and coordination, i.e., the “nerve center,” and
                 not simply an office where the corporation holds its board
                 meetings (for example, attended by directors and officers who have
                 traveled there for the occasion).

Hertz Corp. v. Friend, 559 U.S. 77, 92-93 (2010). “At its heart, the nerve center test is an

inquiry to find the one location from which a corporation is ultimately controlled. Put slightly

differently, the federal court is to look for the place where the buck stops. And where it does,

well, that’s the corporation’s nerve center and principal place of business.” Harrison v. Granite

Bay Care, Inc., 811 F.3d 36, 41 (1st Cir. 2016).

                                             ANALYSIS

          After considering the evidence submitted by the parties and the relevant legal standards,

the court concludes that, at the time the complaint was filed, 100TB’s principal place of business

was located in the United Kingdom and, therefore, that subject-matter jurisdiction is lacking in

this matter. The court reaches those conclusions for the following reasons.

          First, the court has determined that Morris and Kilgour, both of whom reside in the

United Kingdom, exercised ultimate control over 100TB when the complaint was filed. That

determination is supported by the evidence cited by Xat, as well as Matue’s declaration, which

indicates that Morris and Kilgour both reside in the United Kingdom and that their roles

“primarily involved providing input on long-term planning and strategic guidance for 100TB.” 8


8
    Id.

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Matue’s declaration further demonstrates that Morris and Kilgour did not fulfill those roles

primarily from 100TB’s Utah office. 9 Instead, Matue’s declaration indicates that Morris and

Kilgour typically visited 100TB’s Utah office only on a quarterly basis to participate in certain

meetings. 10 Matue’s declaration also indicates that Morris and Kilgour typically communicated

with Matue and other 100TB personnel in Utah via phone, email, and Skype from the United

Kingdom. 11 While Matue’s declaration also states that those communications occurred from

various other locations, the United Kingdom is the only specific location noted. 12

          Second, the court has determined that Matue’s declaration does not demonstrate that he

ultimately controlled 100TB from 100TB’s Utah location, but instead that he controlled only

100TB’s day-to-day operations in Utah. Mere control of a corporation’s day-to-day operations

from a particular location is insufficient under Hertz to demonstrate that said location is the

corporation’s principal place of business; instead, a corporation’s principal place of business is

the location from which the corporation is directed and controlled. See, e.g., Hertz Corp., 559

U.S. at 96 (“For example, if the bulk of a company’s business activities visible to the public take

place in New Jersey, while its top officers direct those activities just across the river in New

York, the ‘principal place of business’ is New York.”); Harrison, 811 F.3d at 41-42 (concluding

that although a corporation’s owners were “hands-off when it comes to day-to-day decisions”




9
    See id.
10
     See id.
11
     See id.
12
     See id.

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that took place in one location, it was the location from which the owners exercised “‘ultimate’

control” that was the corporation’s principal place of business); Hoschar v. Appalachian Power

Co., 739 F.3d 163, 172 (4th Cir. 2014) (concluding that an entity’s principal place of business

was the location from which the entity’s officers made “significant corporate decisions and set

corporate policy such that they direct, control, and coordinate [the entity’s] activities,” rather

than the location where company officers were “responsible for implementing the large-scale

directives” and “managing [the entity’s] day-to-day operations”); Cent. W. Va. Energy Co. v.

Mountain State Carbon, LLC, 636 F.3d 101, 104-106 (4th Cir. 2011) (concluding that the

location of an entity’s day-to-day operation was not relevant to the nerve-center test under Hertz

and that, instead, the location from which an entity’s officers were responsible for significant

oversight, strategic decision-making, setting policy, and overseeing significant corporate

decisions was the entity’s primary place of business).

       For those reasons, the court concludes that, at the time the complaint was filed, 100TB’s

principal place of business was in the United Kingdom. Therefore, because both Xat and 100TB

were foreign entities for purposes of subject-matter jurisdiction when the complaint was filed,

subject-matter jurisdiction is lacking, and the court must dismiss this action without prejudice.

       As a final matter, the court acknowledges that it is peculiar that Xat, as the plaintiff in this

matter, has raised the issue of subject-matter jurisdiction. Nevertheless, the issue of

subject-matter jurisdiction may be raised by any party at any time prior to final judgment. See

City of Albuquerque, 864 F.3d at 1093. Furthermore, the court has an independent obligation to

ensure that subject-matter jurisdiction exists in any particular case. See Fed. R. Civ. P. 12(h)(3);

City of Albuquerque, 864 F.3d at 1093 (“[D]istrict courts have an independent obligation to


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address their own subject-matter jurisdiction and can dismiss actions sua sponte for a lack of

subject-matter jurisdiction.”).

                                  CONCLUSION AND ORDER

          Based upon the foregoing, IT IS HEREBY ORDERED:

          1.     Xat’s motion for determination of subject-matter jurisdiction 13 is GRANTED.

          2.     This action is DISMISSED WITHOUT PREJUDICE.

          IT IS SO ORDERED.

          DATED this 8th day of May, 2019.

                                              BY THE COURT:




                                              PAUL M. WARNER
                                              Chief United States Magistrate Judge




13
     See docket no. 89.

                                                 8
